12-12020-mg   Doc 9253-15 Filed 10/14/15 Entered 10/14/15 14:13:44   Exhibit C
                         to Anderson Decl. Pg 1 of 2



                                  Exhibit C
12-12020-mg       Doc 9253-15 Filed 10/14/15 Entered 10/14/15 14:13:44                      Exhibit C
                             to Anderson Decl. Pg 2 of 2
                                                                                        18 FEB 2009


 MEMORANDUM FOR RECORD

 SUBJECT: Request for mortgage foreclosure protections under Service members Civil Relief
 Act (SCRA) (Public Law 108-189) and the Housing and Economic recovery Act of2008 (Public
 Law 110-289)

 1. Account#~, [fax to 319.236.5894, confirm 800.766.4622]

 2. I was a mobilized soldier as you have in your records.

 3. Sub-sections 3 03 (a) (b) (c) ( d) of the S CRA provide the basis of my claim for mortgage
 foreclosure protections for Service members.

 4. The Housing and Economic Recovery Act of2008 (Public Law 110-289) additionally
 modifies this Act.

 5. The result being that sub-sections (b). and (c) are temporarily lengthened from 90 days to 9
 months by Section 2203 of the Housing and Economic Recovery Act of2008.

 6. This also puts into play Section 303. (d) [penalties and remedies] provided for in the SCRA
 and set forth within the 18 use.

7. I initially request that the clock be reset on this foreclosure proceeding to account for 9
months versus 3 months and this be confirmed by certified letter to the property ofrecord.

8. I request to GMAC work with me to rework my loan with the variety of instruments available
to GMAC as they are now supported by the taxpayer. Options include reduction in .index rate,
reduction of principle, and forgiveness of interest.

9. POC is the undersigned at cell: 802.233:1884 or email: dervish 9@yahoo.com. Please
contact me with your response.




                                                  Frederic L. Edquid
                                                  MAJ, AV, AZNG




                                                                                  0000076
